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                                                                                     FILED

                     IN THE UNITED STATES DISTRICT COURT                        JUL O6 2021
                    FOR THE EASTERN DISTRICT OF MISSOURI                       U. S. DISTRICT COURT
                                                                             EASTERN DISTRICT OF MO
                            SOUTHEASTERN DIVISION                                CAPE GIRARDEAU


UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          ) Case No.             1 :21 CR00082SRC/ACL
     vs.                                  )
                                          )
JOSHUA J. DAMON,                          ) 18 U.S.C. § 2422(b);
                                          ) 18 U.S.C. §§ 2251(a) and (e)
                     Defendant.           )

                                     INDICTMENT

                                         Countl

THE GRAND JURY CHARGES THAT:

       Between on or about February 3, 2021, and February 25, 2021 , in Ripley County

and elsewhere within the Eastern District of Missouri,

                                   JOSHUA J. DAMON,

the defendant herein, used a facility and means of interstate commerce to persuade, induce, .

and entice an individual who he believed had not attained the age of 18 years to engage in

any sexual activity for which any person can be charged with a criminal offense, and

attempted to do so, in violation of Title 18, United States Code, Section 2422(b).

                                         Count II

THE GRAND JURY FURTHER
                     , CHARGES THAT:

      . Between on or about December 11, 2020, and February 25, 2021 , in Ripley County

and elsewhere within the Eastern District of Missouri,

                                   JOSHUA J. DAMON,
'   .
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    the defendant herein, attempted to employ, use, persuade, induce, and entice a minor to

    engage in sexually explicit conduct for the purpose of producing visual depictions of such

    conduct, knowing and having reason to know that such visual depictions would be

    transported and transmitted using a means and facility of interstate and foreign commerce,

    in violation of Title 18, United States Code, Section 2251(a), and punishable under Title

    18, United States Code, Section 2251 (e).



                                                A TRUE BILL.


                                                FOREPERSON
    SAYLER A. FLEMING
    United States Attorney


    John N. Koester, Jr., #52177MO
    Assistant United States Attorney
